                        Case 2:18-cr-01212-SMB Document 5 Filed 08/17/18 Page 1 of 1

 AO 442 (Rev. 11/11) Arrest Warrant



                                           UNITED STATES DISTRICT COURT
                                                                       for the
                                                                  District of Arizona




                                                                                                                            -
                   United States of America
                                   v.                                                                                       :;:         c:
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                                                                                   Case No.   18-1767MJ                             -<:t
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                   Jesus Ivan LOPEZ Garcia
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                             Defendant                                                                                      1J      NU>f"T"I
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                                                         ARREST WARRANT                                                    UI          ,.,,n
 To:      Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
 (name of person to be arrested)        Jesus Ivan LOPEZ Garcia
 who is accused of an offense or violation based on the following document filed with the court:

 0 Indictment             0 Superseding Indictment            0 Information           0 Superseding Information            ~Complaint
 0 Probation Violation Petition                0 Supervised Release Violation Petition          0 Violation Notice         0 Order of the Court

 This offense is briefly described as follows:
   18 U.S.C. § 555 Conspiracy to Construct a Border Tunnel




 Date:         08/16/2018


 City and state:       Yuma, Arizona                                             Hon. James F. Metcalf, United States Magistrate Judge
                                                                                                  Printed name and title


                                                                      Return

            This warrant was received on (date) ~8..----fl-------1'-+-(S__ , and the person was arrested on (date)
· ~t (city and state)


 Date:   _r_·,....__1_J. .~1--¥_


                                                                                                  Printed name and title
